         Case 3:20-cv-02731-VC Document 324-1 Filed 06/03/20 Page 1 of 2




                                 UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                     SAN FRANCISCO DIVISION


ANGEL DE JESUS ZEPEDA RIVAS, et al.,             )   CASE NO. 3:20-cv-02731-VC
                                                 )
        Plaintiffs,                              )   SUPPLEMENTAL DECLARATION OF
                                                 )   ASSISTANT FIELD OFFICE DIRECTOR
   v.                                            )   ALEXANDER PHAM IN SUPPORT OF
                                                 )   FEDERAL DEFENDANTS’ MOTION TO
DAVID JENNINGS, et al.,                          )   DISSOLVE TEMPORARY RESTRAINING
                                                 )   ORDER, MOTION TO STAY, AND
        Defendants.                              )   OPPOSITION TO PLAINTIFFS’ MOTION FOR
                                                 )   PRELIMINARY INJUNCTION


        I, Alexander Pham, make the following statements under oath and subject to penalty of perjury:

        1.      I am an Assistant Field Office Director (“AFOD”) with the Department of Homeland

Security (“DHS”), Immigration and Customs Enforcement (“ICE”), Enforcement and Removal

Operations (“ERO”), in the San Francisco Field Office (“ERO San Francisco”). I have held this position

since April 2019. I am currently assigned to the Bakersfield Sub-Office within ERO San Francisco,

which is responsible for oversight of Mesa Verde Detention Facility (“Mesa Verde”) in Bakersfield,

California. I have worked in various other positions within ICE since 2005.

        2.      This declaration is based upon my personal and professional knowledge and information,

belief, reasonable inquiry, and review of information obtained from various records, systems, databases,

other DHS employees, employees of DHS contract facilities, and information portals maintained and

relied upon by DHS in the regular course of business.

        3.      My prior declaration of May 27, 2020, paragraph 22, described the screening process of

new arrivals at Mesa Verde. At the time, I stated that all new arrivals transferred from another facility

where there are any reported cases of COVID-19 infection will be placed in isolation for 14 days prior to

being released into the general population. This statement was inadvertently inaccurate. The protocol is

for individuals who ERO cannot establish through inquiry from the originating detention facility

(including ICE facilities), has not been exposed, quarantined or suspected of being exposed to COVID-

19, individuals who are arrested off the street, and for those who are returned to Mesa Verde after being


SUPPLEMENTAL DECLARATION OF ASSISTANT FIELD OFFICE DIRECTOR ALEXANDER PHAM
No. 3:20-cv-02731-VC                      1
            Case 3:20-cv-02731-VC Document 324-1 Filed 06/03/20 Page 2 of 2




hospitalized. 1

        I affirm under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. Executed at Bakersfield, California.



DATED: June 3, 2020




                                                   Alexander Pham




        1
           On May 4, 2020, ICE issued new guidance on transfers, removals, and releases from ICE detention
facilities. The form is also being utilized for new arrivals from all other detention facilities. Prior to any transfer,
removal or release from ICE custody, an ERO officer or contracted staff must complete the attached Coronavirus
Disease 2019 (COVID-19) checklist (“checklist”). See Attachment (“Att.”) A. In completing the checklist, the
ERO officer or contractor is required to answer three questions: Is the detainee currently: 1) In medical isolation?
2) Experiencing symptoms commonly associated with COVID-19? and 3) Awaiting COVID-19 test results? If
the answer to any of the three questions is “Yes,” ERO will not remove such an individual from the United States,
nor transfer/transport the individual to another facility unless medically necessary. If the answer is “Yes,” to any
of these questions for new arrivals from non-ICE detention facilities, Mesa Verde will either quarantine the
individual for 14-days prior to release into the general population or not accept the individual for admission.
Notably, the CDC checklist was in effect at the time Domingo Lucas-Pedro and Arnulfo Ramirez-Ramos, were
transferred from La Palma Correctional Center to Mesa Verde. The checklist was completed for those two
individuals and showed that neither had been in medical isolation, experiencing any symptoms or awaiting results
of COVID-testing. See Att. B. As such, they were cleared for transport and transfer back to Mesa Verde.
SUPPLEMENTAL DECLARATION OF ASSISTANT FIELD OFFICE DIRECTOR ALEXANDER PHAM
No. 3:20-cv-02731-VC                      2
